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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  ENRIQUE ALVEAR,

         Plaintiff,

  vs.

  BLOOMINGDALES.COM, LLC,
  a foreign limited liability company,

        Defendant.
  _______________________________/

                                             COMPLAINT

         Plaintiff ENRIQUE ALVEAR, through undersigned counsel,                      sues    Defendant

  BLOOMINGDALES.COM, LLC, a foreign limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This is also an action for declaratory and injunctive relief to prevent the continuing act of trespass

  against the Plaintiff’s personal property (his personal computer and its hard drive), and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.




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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff ENRIQUE ALVEAR is a resident of Miami-Dade County, Florida, is sui

  juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been a blind and visually disabled person

  who has been diagnosed with complete blindness as a result of retinal detachment to both eyes.

  Because of his disease, Plaintiff is currently completely blind and is substantially limited in

  performing one or more major life activities, including, but not limited to, sight, accurately

  visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§36.101, et seq., and 42 U.S.C. §3602(h).

         6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

  appropriate and available auxiliary aids, screen reader software, and other technology and

  assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

  rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word



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  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a foreign limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls a chain of 54

  retail department stores selling apparel, footwear, handbags, and accessories, including one of the

  stores Plaintiff intended to patronize in the near future located at "The Aventura Mall 19555

  Biscayne Boulevard Aventura, FL.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

  communicate and comprehend information available on the internet and thereby access and

  comprehend websites, Plaintiff uses commercially available screen reader software to interface

  with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a chain of retail department stores selling apparel, footwear, handbags, and

  accessories under the name “Bloomingdale’s”. Each Bloomingdale’s store is open to the public.

  As the owner and operator of these stores, Defendant is defined as a place of “public

  accommodation" within meaning of the ADA because Defendant is a private entity which owns

  and/or operates “a bakery, grocery store, clothing store, hardware store, shopping center, or other

  sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).




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            11.   Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

            12.   Defendant also owns, controls, maintains, and/or operates an adjunct website,

  https://www.bloomingdales.com (the “Website”). One of the functions of the Website is to

  provide the public information on the locations of Defendant’s stores through a “store locator”

  feature. Defendant also sells to the public its merchandise through the Website, which acts as a

  critical point of sale for Defendant’s merchandise available for purchase in, from, and through

  Defendant’s physical stores (but not necessarily in the physical store Plaintiff intended to

  patronize). In addition, Defendant’s website allows the public to purchase gift cards for use online

  and in the physical stores and arrange in-store pickups and returns of merchandise purchased

  online.

            13.   The Website also services Defendant’s physical stores by providing information on

  available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

            14.   Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, purchase gift cards for use online and in the physical stores, arrange in-

  store and curbside pickups of merchandise purchased online, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges,

  and advantages of Defendant’s physical stores, which are places of public accommodation under

  the ADA. As an extension of and service, privilege, and advantage provided by a place of public



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  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical stores in that, as a point of sale for the stores, it enables users of the Website

  to make online purchases of Defendant’s merchandise that is also available for purchase from and

  in its physical stores (but not necessarily the physical store Plaintiff intended to patronize).

         15.     Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

  of sale for Defendant’s products also sold in the physical stores, purchase gift cards to purchase

  merchandise both online and in the physical stores, arrange in-store and curbside pickups of

  merchandise purchased online, and sign up for an emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use online and in the physical stores, the Website is an

  extension of, and gateway to the physical stores, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a necessary service,

  privilege, and advantage of Defendant’s brick-and-mortar stores that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal access to and enjoyment of the goods,

  services, privileges, and advantages afforded the non-visually disabled public both online and in

  the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate



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  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal access to and enjoyment of the goods, services, privileges, and advantages as afforded the

  non-visually disabled public both online and in the physical stores. As such, Defendant has

  subjected itself and the Website to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied, one or

  more of Defendant’s physical stores (including the store located at "The Aventura Mall 19555

  Biscayne Boulevard Aventura, FL), and to search for the brick-and-mortar stores, check store

  hours and merchandise pricing, purchase merchandise, purchase gift cards, arrange in-store and

  curbside pickups of merchandise purchased online, and sign up for an emailer to receive exclusive

  offers, benefits, invitations, and discounts for use at the Website or in Defendant’s physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift

  cards, arrange in-store and curbside pickups of merchandise purchased online, and sign up for an

  emailer to receive exclusive online offers, benefits, invitations, and discounts for use both online

  and in the physical stores from his home are important and necessary accommodations for Plaintiff

  because traveling outside of his home as a visually disabled individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience. Defendant has not provided its

  business information in any other digital format that is accessible for use by blind and visually

  disabled individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits and to compare merchandise, prices, services, sales, discounts, and promotions.

  Plaintiff may look at several dozens of sites to compare features, discounts, services, promotions,

  and prices.



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         20.      Beginning in the month of May, 2023, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the merchandise and online offers to educate himself as

  to the merchandise, sales, services, discounts, and promotions being offered, learn about the brick-

  and-mortar stores, check store hours, and check merchandise pricing with the intent to make a

  purchase through the Website or in one of the physical stores.

         21.      Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These access barriers are pervasive, one or

  more of which were experienced by Plaintiff and, as confirmed by Plaintiff’s expert, include the

  following (with reference to the Web Content Accessibility Guidelines (“WCAG”) 2.1 Level A

  and AA):

         a)       Level A Guideline 1.1.1 – Non-Text Content. The 'Spring Trend' image is not

  labeled. It is announced as an "unlabeled graphic" and none of the text in the image is navigable

  or announced.

         b)       Level A Guideline 1.3.1 – Info and Relationships. When visiting the 'Gerard Darel

  - James Floral Print Dress' page then a single price of $465 was displayed at the top of the page.

  When navigating to the COLOR section then two buttons were available, and each had a different

  price. The color buttons are announced, but the prices are not. Arrow and tab key navigation were

  used, but only the colors were announced. When the pink color button was selected then the price

  at the top of the page also updated, but this was not announced either. The result is that users do

  not hear the different prices when navigating the color buttons nor is the updated price announced

  when it is displayed.



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          c)      Level A Guideline 1.4.1 – Use of Color. Unavailable product size buttons are

  displayed in gray with a strikethrough, but they are not announced as unavailable. All of the Size

  and Color buttons are announced the same whether they are available or not. A message is

  displayed above this section if a user selects an unavailable size, but this message is not announced,

  and focus doesn't automatically move to it so users only hear a confirmation that the size was

  selected.

          d)      Leve A Guideline 2.2.2 – Pause, Stop, Hide. The homepage carousel begins to

  rotate automatically, but controls are not announced or displayed that would enable a user to hide,

  stop, or pause it, as required.

          e)      Level A Guideline 2.4.3 – Focus Order. Keyboard focus order is not working

  sequentially. Focus moves to the content of the collapsed filter buttons even when they are not in

  an expanded state or displayed. For example, the focus indicator disappears after the 'Item Type'

  filter button is announced. The tab key had to be pressed approximately 32 times before focus

  appeared again. This delays navigation and impedes comprehension since keyboard-only users

  will not know their position on the page and SRUs must navigate through each filter option even

  when they are hidden. The Skip to Content button takes users directly to the filter section so SRUs

  are forced to navigate through all of the filter options, even when they're collapsed, before they

  can access the list of products.

          f)      Level A Guideline 2.4.4 – Link Purpose In Context. A graphic link on the

  homepage includes text such as 'New styles added!' and 'Save up to 50% on select styles. Total

  savings: 30-50%.' but none of the text is announced nor can users navigate to hear the text. This

  graphic link is announced as 'Shop all designer on sale link" and users cannot access the

  promotional content displayed.



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         g)      Level A Guideline 3.3.2 – Labels or Instructions. The 'On Screen' banner at the

  bottom of the homepage includes multiple lines of text and notifies user that all in-store events

  will be virtual, but none of this text is announced. Only "Check it out" is announced.

         h)      Level A Guideline 4.1.2 – Name, Role, Value. An underline is used to indicate

  which measurement type (IN or CM) is selected in the Size Guide, but this is not announced. An

  announcement was not made when we selected either button, only a visual indicator is used.

         i)      Level AA Guideline 1.4.5 – Images of Text. The content in the banner image is

  not announced nor is it navigable using tab or arrow key navigation. The $600 gift card text along

  with the promotional end date are not announced. Only "Shop customers top rated link info and

  exclusions' is announced.

         j)      Level AA Guideline 2.4.6 – Headings and Labels.             The 'Size' label is not

  pragmatically associated with the radio buttons in this section. When a user navigates to the Size

  section then “list 0 radio button not checked 1 of 9" is announced. Alternatively, the Color label is

  announced when a user navigates to radio buttons in that section.

         k)      Level AA Guideline 3.3.3 – Error Suggestion. If a user selects the 'Add to Bag'

  button without first selecting a size, then an error message is displayed in red text. Users are not

  alerted that an error is present, and focus doesn't move to the error message. The focus continues

  to move down the page so user will not be aware of the error message that was displayed above

  the Add to Bag button.

         22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although the Website appeared to have an “accessibility” statement linked from its home page



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  with access to the download of an “accessibility” application, that “accessibility” statement and

  the application still could not be effectively accessed by, continued to be a barrier to, and did not

  provide a viable alternative means to equally access and navigate the Website for blind and visually

  disabled persons, including Plaintiff. Plaintiff, thus, was unable to receive any meaningful or

  prompt assistance through the “accessibility” statement and associated application to enable him

  to equally, quickly, fully, and effectively navigate the Website.

         23.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         24.     Plaintiff desires and intends in the near future once the Website’s access barriers

  are removed or remedied to patronize one or more of Defendant’s physical stores and to use the

  Website, but he is presently unable to do so as he is unable to effectively communicate with

  Defendant due to his blindness and the Website’s access barriers. Thus, Plaintiff and others who

  are blind and with visual disabilities will suffer continuous and ongoing harm from Defendant’s

  intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

  this Court.

         25.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s retail stores for

  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-



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  visually disabled public both online and in the physical stores, which are places of public

  accommodation subject to the requirements of the ADA.

          26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          27.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          28.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          29.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          32.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          33.     Defendant has not created and instituted a useful or effective Specialized Customer

  Assistance line or service or email contact mode for customer assistance for the visually disabled.

          34.     Defendant has not created and instituted on the Website a useful or effective page

  for individuals with disabilities, nor displayed a proper link and information hotline, nor created a

  proper information portal explaining when and how Defendant will have the Website, applications,

  and digital assets accessible to the visually disabled and blind communities.



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            35    The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.1 Level A or higher versions of web accessibility.

            36.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website and in the physical

  stores from their homes.

            37.   Defendant thus has not provided full and equal access to, and enjoyment of, the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website and the physical stores in contravention of the ADA.

            38.   Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.

            39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites such as the Website at issue in the instant

  action.

            40.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            41.   Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

            42.   The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.



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         43.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with the Website’s access and operation.

         44.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.

         46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                                         Trespass Violations

         47.     Plaintiff utilizes his computer to access websites such as the Website.

         48.     Plaintiff uses his computer as a method of conveyance of his personal information.

  Plaintiff thus stores his personal information and retains his browsing history on his computer.

         49.     When a user accesses the Website, Defendant places information tracking and

  gathering software on the user’s personal computer and hard drive without the user’s advance

  consent or knowledge. Defendant also plants browser cookies on a user’s computer and hard drive

  to identify websites that the user has previously visited by accessing the user’s web browser

  history.

         50.     Defendant informs the Website user that the user’s personal information and

  browsing history is collected and is used for targeted marketing and advertising.        However,

  because of his blindness, Plaintiff was unable to comprehend the Website; therefore, Plaintiff had

  no choice, and likewise no knowledge, of Defendant’s installation of data and information tracking



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  and gathering software on his computer and the collection of Plaintiff’s browsing history and

  analytics.

         51.     Thus, through the Website, Defendant has committed a trespass against Plaintiff,

  since the Website places information tracking and gathering software on the Plaintiff’s computer

  without Plaintiff’s knowledge or consent.

                              COUNT I – VIOLATION OF THE ADA

         52.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

         53.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA and thus is subject to the ADA.

         54.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in and from the physical stores, purchase

  gift cards for use both online and in the physical stores, arrange in-store and curbside pickups of

  merchandise purchased online, and sign up for an emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use both online and in the physical stores. The Website

  thus is an extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s

  physical stores. Further, the Website also serves to augment Defendant’s physical stores by

  providing the public information about the stores and by educating the public as to Defendant’s

  available merchandise sold through the Website and in the physical stores.

         55.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.



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         56.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         57.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         58.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         59.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on the Website and in the physical stores in violation

  of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         60.     The website was subsequently visited by Plaintiffs expert in June 2023, and the

  expert determined that many of the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Despite being a defendant in prior ADA

  accessibility lawsuits, one or more of which likely resulted in a confidential settlement agreement



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  that obligated Defendant to fully remediate the Website, Defendant has made insufficient material

  changes or improvements to the Website to enable its full use, and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. Defendant has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

  disabled individuals, nor has it posted on the Website a useful or effective “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

  alternative means to access and navigate the Website. Defendant thus has failed to make

  reasonable modifications in its policies, practices, or procedures when such modifications are

  necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302.

         61.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

         62.     There are readily available, well-established guidelines on the internet for making

  Websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         63.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.



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         64.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         65.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

  §36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.

         66.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         67.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         68.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         69.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar locations, Plaintiff has suffered an injury

  in fact by being denied full access to, enjoyment of, and communication with Defendant’s Website

  and physical stores.




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         70.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         71.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations of the physicals tores

  through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website and the physical stores.




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         72.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

               disabled logo within the Website, wherein the logo1 would lead to a page which would

               state Defendant’s accessibility information, facts, policies, and accommodations. Such

               a clear display of the disabled logo is to ensure that individuals who are disabled are

               aware of the availability of the accessible features of the Website;

         D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

               accessibility by implementing a website accessibility coordinator, a website application

               accessibility policy, and providing for website accessibility feedback to ensure

               compliance thereto;




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                       or similar.
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        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and




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                shall accompany the public policy statement with an accessible means of submitting

                accessibility questions and problems;

          K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

          L. Such other and further relief as the Court deems just and equitable.

                                        COUNT II – TRESPASS

          73.      Plaintiff re-alleges paragraphs 1 through 51 as if set forth fully herein.

          74.      Plaintiff’s tangible personal property, being his computer and the personal

  information and browsing history stored therein, has suffered a trespass by Defendant on each and

  every date that the Plaintiff has accessed Defendant’s Website, due to Defendant’s employment of

  information tracking and gathering software and analytics which are present on and through the

  Website.

          75.      At all relevant times, Plaintiff did not consent to and was unaware that the Website

  was placing the information tracking and gathering software on his computer and its hard drive

  due to his visual disability and his inability to effectively communicate with and fully view and

  access the Website.

          76.      Plaintiff did not consent to the placement of information tracking and gathering

  software on his computer and its hard drive; therefore, Defendant has committed a trespass against

  Plaintiff by placing such software on his computer and its hard drive without his knowledge or

  consent.

          77.      By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass to chattel.




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         78.       Defendant’s installation, operation, and execution of information tracking and

  gathering software on Plaintiff’s computer have directly and proximately impaired the condition

  and value of the Plaintiff’s computer, thereby causing Plaintiff damages.

         79.       The Website has a “Privacy Policy” that discusses the automatic gathering of

  information from and the automatic placement of cookies and other information gathering software

  on, computers of users of the Website such as Plaintiff. A copy of that “Privacy Policy” is attached

  hereto as Exhibit “A” and its contents are incorporated herein by reference.

         80.       Defendant’s trespass to chattel, nuisance, and interference has caused real and

  substantial damage to Plaintiff as follows:

         a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

  computer (including space, memory, processing cycles, and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his computer;

         c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

  programs should be installed and operated on his computer;

         d) By compromising the integrity, security, and ownership of Plaintiff’s computer ; and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his computer without notice or consent.

         81.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

  disregard for Plaintiff’s rights under the law.

          WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.




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        DATED: July 21, 2023.



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